Case: 4:05-cr-00230-ERW   Doc. #: 209 Filed: 01/05/06   Page: 1 of 7 PageID #:
                                    439
Case: 4:05-cr-00230-ERW   Doc. #: 209 Filed: 01/05/06   Page: 2 of 7 PageID #:
                                    440
Case: 4:05-cr-00230-ERW   Doc. #: 209 Filed: 01/05/06   Page: 3 of 7 PageID #:
                                    441
Case: 4:05-cr-00230-ERW   Doc. #: 209 Filed: 01/05/06   Page: 4 of 7 PageID #:
                                    442
Case: 4:05-cr-00230-ERW   Doc. #: 209 Filed: 01/05/06   Page: 5 of 7 PageID #:
                                    443
Case: 4:05-cr-00230-ERW   Doc. #: 209 Filed: 01/05/06   Page: 6 of 7 PageID #:
                                    444
Case: 4:05-cr-00230-ERW   Doc. #: 209 Filed: 01/05/06   Page: 7 of 7 PageID #:
                                    445
